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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES,                            )
                                           )
 Plaintiff,                                )
                                           )
 v.                                        )      Case No. 1:18-cv-05774-AT
                                           )
 NANCY ZAK,                                )
 CLAUD CLARK III,                          )
 ECOVEST CAPITAL, INC.,                    )
 ALAN N. SOLON,                            )
 ROBERT M. MCCULLOUGH,                     )
 RALPH R. TEAL JR.,                        )
                                           )
 Defendants.                               )

              JOINT MOTION FOR ENTRY OF FINAL JUDGMENT
                    AGAINST DEFENDANT NANCY ZAK

       Plaintiff United States and Defendant Nancy Zak have reached a settlement

agreement regarding all of the claims asserted against Ms. Zak in this case, have

negotiated the terms of a consent injunction, and have filed a stipulation for entry

of final judgment (ECF No. 266). Accordingly, the United States and Ms. Zak

respectfully request that, pursuant to Fed. R. Civ. P. 54(b) and 65(d), the Court

enter the attached (proposed) final judgment against Ms. Zak.

       This motion, if granted, will significantly narrow the issues for trial,

streamline discovery, and allow Ms. Zak to save the expense and time involved in

further litigation.

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      Because there is no just reason for delay, the United States and Ms. Zak

respectfully request that the Court grant this motion and enter final judgment

against Ms. Zak. The attached memorandum of law provides further support for

this request.


Dated: March 25, 2021

Respectfully submitted,

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